
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1565

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                     BLAS CAMILO,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Joseph A. DiClerico, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Cyr and Lynch, Circuit Judges.
                                           ______________

                                _____________________

               Michael  J.  Iacopino, with  whom  Timothy  I. Robinson  and
               _____________________              ____________________
          Brennan, Caron, Lenehan &amp; Iacopino were on brief for appellant.
          __________________________________
               Jean B.  Weld, Assistant  United States Attorney,  with whom
               _____________
          Paul M.  Gagnon,  United  States   Attorney,  was  on  brief  for
          _______________
          appellee.



                                 ____________________

                                  December 18, 1995
                                 ____________________




















                    TORRUELLA,  Chief  Judge.     Defendant-appellant  Blas
                    TORRUELLA,  Chief  Judge.
                                ____________

          Camilo  ("Camilo") appeals his sentence of 96 months given at his

          resentencing hearing of May 2, 1995.  In United States v. Camilo,
                                                   _____________    ______

          30  F.3d 126 (1st Cir. 1994), this court affirmed his convictions

          for violations  of 21 U.S.C.    841(a)  and   846  pursuant to  a

          final  judgment entered on January 3, 1994 by the district court,

          and  remanded for  the resentencing  that is  the origin  of this

          appeal.  For the reasons set forth below, we affirm.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    The  facts,  which  are  derived from  the  presentence

          investigation  reports  as  well  as  the  oral  and  documentary

          evidence introduced at the sentencing and resentencing  hearings,

          are as follows.

                    Camilo was  indicted with two co-defendants  on July 2,

          1993.   He was charged in count one with conspiracy to distribute

          cocaine base (or "crack") in violation of 21 U.S.C.   846, and in

          counts  two and three with distributing cocaine base on April 22,

          1993 and  May 12, 1993, in  violation of 21  U.S.C.   841(a)(1).1
                              
          ____________________

          1  Section 841(a)(1) provides that:

                      Except as authorized by  this subchapter,
                      it  shall  be  unlawful  for  any  person
                      knowingly or intentionally--(1) to .  . .
                      distribute .  . . or possess  with intent
                      to .  . . distribute  . . .  a controlled
                      substance . . . .

          Section 846 provides that:

                      Any person who  attempts or conspires  to
                      commit  any  offense   defined  in   this
                      subchapter [including    841(a)(1)] shall
                      be subject to the same penalties as those

                                         -2-














          On October 4, 1993, Camilo pled guilty to count three pursuant to

          a  written plea agreement, and counts one and two were dismissed.

          For count three, Camilo was  sentenced on January 3, 1994 to  ten

          years  of  imprisonment and  five  years  of supervised  release.

          Camilo appealed this sentence,  and on August 8, 1994,  the Court

          remanded this  case for resentencing pursuant to the agreement of

          both parties at oral argument, based primarily on a change in the

          sentencing recommendation  policy of the United  States Probation

          Office pertaining to   841(b) penalties.  See 21 U.S.C.    841(b)
                                                    ___

          (specifying penalties for 21 U.S.C.   841(a) violations).  In the

          wake of United  States v.  Darmand, 3  F.3d 1578,  1581 (2d  Cir.
                  ______________     _______

          1993),  the Probation  Office  accordingly recommended  that  the

          mandatory minimum sentences  under 21 U.S.C.   841(b)(1) be based

          only  on  the  drug  quantities  involved  in   the  offenses  of

          conviction.

                    At Camilo's  resentencing hearing  on May 2,  1995, the

          district  court  assessed  Camilo  with two  additional  criminal

          history points because, at the time that he committed the instant

          offense,  he  had  an  outstanding Massachusetts  warrant  for  a

          probation violation.   Camilo challenges this  decision as error.

          Additionally, Camilo argues that because cocaine powder and crack

          are   scientifically  identical,  the  United  States  Sentencing

          Guidelines' ("the Guidelines'") distinction between the two forms

                              
          ____________________

                      prescribed    for   the    offense,   the
                      commission of which was the object of the
                      attempt or conspiracy.


                                         -3-














          of  cocaine  produces  statutory ambiguity.    Therefore,  argues

          Camilo,  under the rule of lenity,2 he should receive the lighter

          penalty for  cocaine powder rather  than the heavier  penalty for

          crack,   the  substance  which  he   was  in  fact  convicted  of

          distributing.

                                      DISCUSSION
                                      DISCUSSION
                                      __________

                    A.  The Criminal History Computation
                    A.  The Criminal History Computation

                    We review  a district  court's legal  interpretation of

          the Guidelines de novo,  United States v. Fontana, 50 F.3d 86, 87
                         _______   _____________    _______

          (1st Cir. 1995);  United States v.  Ovalle-M rquez, 36 F.3d  212,
                            _____________     ______________

          221 (1st Cir. 1994),  cert. denied, 115 S. Ct. 1322,  131 L.Ed.2d
                                _____ ______

          202  (1995), and  its  fact-bound determinations  of  defendant's

          actions with respect to the offense for clear error.  Fontana, 50
                                                                _______

          F.3d at 87;  Ovalle-M rquez, 36  F.3d at 225.   Furthermore,  the
                       ______________

          government carries the burden  of showing the facts necessary  to

          justify  additional criminal  history points.   United  States v.
                                                          ______________

          Roberts, 39 F.3d 10, 13 (1st Cir. 1994).
          _______

                    The  Guidelines   specify  that,  in   determining  the

          Criminal  History Category,  the sentencing  court shall  add two

          points  to  a  defendant's  criminal  history  category  "if  the

          defendant committed the instant  offense while under any criminal

          justice sentence, including probation."  United States Sentencing
                              
          ____________________

          2  The rule of lenity mandates the resolution of ambiguities in a
          criminal statute  favorably to the  defendant.  United  States v.
                                                          ______________
          Gibbens, 25 F.3d 28, 35 (1st Cir. 1994); United States v. O'Neil,
          _______                                  _____________    ______
          11 F.3d 292, 301 n.10 (1st Cir. 1993).  The  rule is a background
          principle  which casts the decisive  vote when all  else fails to
          bring  sufficient lucidity  to the  meaning  of a  penal statute.
          Gibbens, 25 F.3d at 35.
          _______

                                         -4-














          Commission,  Guidelines  Manual,     4A1.1(d)  (1994).    Section
                       __________________

          4A1.2(m) defines  the effect under    4A1.1(d) of  an outstanding

          warrant for a probation violation as follows:

                      For  the  purposes   of     4A1.1(d),   a
                      defendant who commits the instant offense
                      while  a violation  warrant from  a prior
                      sentence   is    outstanding   (e.g.,   a
                                                      ____
                      probation, parole,  or supervised release
                      violation warrant) shall be deemed  to be
                                         ______________________
                      under a criminal justice sentence for the
                      _________________________________
                      purposes  of  this   provision  if   that
                      sentence is otherwise countable,  even if
                      that sentence would  have expired  absent
                      such a warrant.

            4A1.2(m) (emphasis added); see also   4A1.1(d), comment.  (n.4)
                                       ________

          (explaining the effect of a violation warrant "[f]or the purposes

          of  [  4A1.1(d)]" in language almost identical to the above block

          quote).

                    We  conclude, and  Camilo  does not  dispute, that  the

          sentence  of two  years' probation  which the evidence  shows was

          imposed on him on  June 28, 1989 was "otherwise  countable" under

            4A1.1(d).3  Section 4A1.1(d) specifically  includes "probation"

          as a  "criminal justice  sentence" triggering the  additional two

          points.  Furthermore,    4A1.2(m) clearly  indicates that, for   

          4A1.1(d)  purposes, an  outstanding  violation warrant  is to  be

          considered the equivalent of  the criminal justice sentence under

                              
          ____________________

          3  The words "otherwise countable" in   4A1.2(m) appear to  refer
          exclusively  to the  fact  that certain  enumerated offenses  are
          excluded  for the  purposes  of    4A1.1(d).   These  exceptions,
          explained in    4A1.2(c)-(j),  do not apply in the  instant case.
          See,  e.g.,       4A1.2(c)  (entitled   "Sentences  Counted   and
          ___   ____
          Excluded");    4A1.2(i) ("Sentences  resulting from  tribal court
          convictions  are  not  counted");     4A1.2(j)  ("Sentences   for
          expunged convictions are not counted").

                                         -5-














          which  it  issued, even  if  that sentence  would  otherwise have

          expired absent such warrant.

                    Given the clarity of the relevant Guidelines, the issue

          would  seem to  hinge simply  on whether  an  outstanding warrant

          existed, and  the evidence supports the  district court's finding

          that it did.   Sufficient evidence supports the district  court's

          conclusion that the outstanding warrant in question was issued on

          May  2, 1991, almost  two months before  Camilo's probation would

          have expired.   However, Camilo argues that  the required inquiry

          is  not so simple.  First, citing precedents from other circuits,

          he contends that the government must show  that, under the law of

          the prior sentence's origin (here, Massachusetts), the warrant is

          not stale and  the issuing court  retains jurisdiction to  revoke

          the  defendant's probation.  See  United States v.  Lee, 941 F.2d
                                       ___  _____________     ___

          571,  572-73 (7th  Cir. 1991)  (discussing Missouri  law); United
                                                                     ______

          States v. Baty,  931 F.2d  8, 10-11 (5th  Cir. 1991)  (discussing
          ______    ____

          Texas  law).   Second, Camilo  asserts that,  under Massachusetts

          law,  the outstanding  warrant  was invalid  for  the purpose  of

          additional criminal history points, because the government failed

          to present evidence  that it made reasonable  attempts to execute

          the warrant.

                    We reject Camilo's proposition, which he contends to be

          the law in the  Fifth and Seventh Circuits, that  the Guidelines'

          otherwise unambiguous direction  is necessarily  qualified by  an

          additional showing under  state law.   We decline  to follow  the

          cited  cases because both cases were decided before the effective


                                         -6-














          date  of Amendment 381 to the Guidelines, November 1, 1991, which

          added both    4A1.2(m),  discussed above,  and    4A1.1, comment.

          (n.4).4  See  USSG App. C, pp. 261-62, 264  (Nov. 1994); Lee, 941
                   ___                                             ___

          F.2d  at 571  (decided  August 26,  1991);  Baty, 931  F.2d  at 8
                                                      ____

          (decided  April  26,  1991).    Not  surprisingly,  neither  case

          mentions either   4A1.2(m) or   4A1.1, comment. (n.4), which were

          to become effective on November 1 of 1991, the year in which both

          cases were decided.  Lee, 941 F.2d at 571; Baty, 931 F.2d at 8.
                               ___                   ____

                    Instead, we follow the reasoning of a case not cited by

          either  party, United States v.  Renfrew, 957 F.2d  525 (8th Cir.
                         _____________     _______

          1992).  In  that case, the Eighth  Circuit stated that whether  a

          defendant  was under a criminal justice  offense was ultimately a

          matter of federal law:

                      Although  we  agree  that  state  law  is
                      relevant to the  question before us,  our
                      ultimate  task  is  to determine  whether
                      [the  defendant]  was 'under'  a criminal
                      justice  sentence  for   purposes  of    
                      4A1.1(d).   That is a question of federal
                      law.

          Id.  at  526-27   (affirming  the  addition  of   two  points  to
          __

          defendant's  criminal history  category based  on either  or both

          Minnesota law and    4A1.1(d), comment. (n.4)).  In  Renfrew, the
                                                               _______

          Eighth Circuit  determined that regardless of  whether it focused

                              
          ____________________

          4  We note  in passing that Shepard's Citation  Service indicates
          that Baty has only  been cited by Lee,  and Lee in turn  has been
               ____                         ___       ___
          cited by  only one  other case,  United States  v. Davis, 797  F.
                                           _____________     _____
          Supp.  672,  675-76  (N.D. Ind.  1992)  (undertaking Lee-directed
                                                               ___
          state law inquiry into outstanding warrant and finding under that
          rubric that the instant  defendant's outstanding warrant sufficed
          under    4A1.1(d) for  additional  two-point penalty  in criminal
          history computation).

                                         -7-














          on   Minnesota  state   law   or  on   a  Sentencing   Commission

          "postsentence clarifying  amendment,"  see    4A1.1(d),  comment.
                                                 ___

          (n.4), the  defendant was under  a criminal justice  sentence for

          the purposes of   4A1.1(d).5

                    Unlike  the  defendant  in  Renfrew,  however, Camilo's
                                                _______

          sentencing date, as well as his offending conduct, was subsequent

          to  November 1,  1991, the  effective date  of both     4A1.1(d),

          comment.  (n.4) and 4A1.2(m).   As we have  previously noted, the

          language  of   4A1.2(m) that  is relevant to  our analysis almost

          perfectly replicates  that of    4A1.1(d), comment.  (n.4), which

          was  relied upon by  the court in  Renfrew.  Unlike  the court in
                                             _______

          Renfrew, we face no ex post facto problem in following   4A1.2(m)
          _______

          rather than the    4A1.1(d),  comment. (n.4).6   See 18 U.S.C.   
                                                           ___

          3553(a)(4)  (courts should  consider  the kinds  of sentence  and

          sentencing range  specified by the Guidelines "that are in effect

          on the date  the defendant is  sentenced"); U.S.S.G.    1B1.11(a)

          (courts  are to use "the Guidelines  Manual in effect on the date
                              
          ____________________

          5  Renfrew, 957  F.2d at 527 ("[W]hether  we focus on  [Minnesota
             _______
          law on  revocation of  probation] or the  Sentencing Commission's
          interpretation  [in    4A1.1(d), comment.  (n.4),] of  the phrase
          'under any criminal justice sentence,' we think it clear that the
          district  court  was correct  in adding  two points  to Renfrew's
          criminal history category calculation under   4A1.1(d)."), citing
                                                                     ______
            4A1.1(d), comment. (n.4).  

          6   There is a  possible explanation, admittedly  not included in
          either  amendment 381's  text  or its  accompanying statement  of
          purpose, for why   4A1.2(m) repeats almost verbatim the  language
          of    4A1.1(d), comment.  (n.4).   The Sentencing  Commission may
          have  intended   the  application   note  as  a   post-sentencing
          clarifying  amendment to guide  courts reviewing sentences handed
          down  before  November  1,  1991,  while     4A1.2(m), an  actual
          Guideline,  was intended to compel  the result we  reach here for
          sentences dating from after November 1, 1991.

                                         -8-














          that the defendant is sentenced").  Most importantly,    4A1.2(m)

          is not an application note but a Guideline definition; as such it

          is  not merely persuasive, but  is in fact  binding authority for

          our interpretation of   4A1.1(d).

                    Given  that  the  plain   language  of     4A1.2(m)  is

          mandatory for our purposes,  and that both federal and  state law

          analyses lead us to  the same conclusions, we therefore  need not

          determine  here which analysis --  federal or state  -- is indeed

          required.  Thus, as the court in Renfrew did before us, we follow
                                           _______

          both lines of analysis without determining whether the state  law

          inquiry is mandatory.

                    We turn first  to federal law.  As  a matter of federal

          law,  it  may be  argued  that  a delay  in  the  execution of  a

          violation  warrant  may be  so  unreasonable  that the  defendant

          cannot  be said  to  be under  a  criminal justice  sentence  for

          purposes  of    4A1.1(d).7   We need  not decide  whether such  a

          reasonableness requirement exists in this  case, however, because

          under the  facts of this case  it would not benefit  Camilo.  The

          argument  described  above would  not  apply where  the  delay is

          attributable in significant part  to the defendant's own wrongful

          actions.   Cf. United  States v. Fisher,  895 F.2d 208,  211 (5th
                     ___ ______________    ______

          Cir. 1990); United States v. Hill, 719  F.2d 1402, 1405 (9th Cir.
                      _____________    ____
                              
          ____________________

          7  It has been  held that jurisdiction over a  probation violator
          in the federal system generally does not extend indefinitely once
          a valid warrant is issued.   See United States v. Hill,  719 F.2d
                                       ___ _____________    ____
          1402, 1404 (9th Cir. 1983).  Due process  requires that a warrant
          for a  probation violation be  executed within a  reasonable time
          after  issuance.   See id.  at 1405.   A similar  requirement may
                             ___ ___
          exist under   4A1.1(m).

                                         -9-














          1983)  (considering  it  important  that the  defendant  had  not

          contributed to the delay).  As the record shows, such is the case

          here.

                    After Camilo was defaulted  on his probation in January

          1991,  notice  of  surrender  was  sent  to Camilo's  last  known

          address,  42  East  Haverhill  Street,  Lawrence,  Massachusetts,

          informing him of  a March 27,  1991 probation violation  hearing.

          That hearing was  continued until May 2, 1991.   It is undisputed

          that Camilo  failed to show up  for the May 2,  1991 hearing, and

          the  district  court properly  found that  he  had notice  of the

          hearing.   Camilo  also failed  an April  17, 1991  court-ordered

          urinalysis and was  ordered to pay the testing  fee and to report

          for another urinalysis at the testing site.  He failed to show up

          for the second urinalysis.  When the warrant was issued following

          the May 2, 1991 default, the Essex County Probation Office, which

          still  had  an  address for  Camilo  in  Lawrence, forwarded  the

          warrant  to  the   Lawrence  Police  Department  for   execution.

          However, Camilo  had moved  to Salem,  New Hampshire  sometime in

          1990  but had  never notified the  Essex County  Probation Office

          that he had left the state.  During this time Camilo also  used a

          number  of  aliases,  including "Chicky,"  "Angel  Castillo," and

          "Blas Alberto Camilo Caraballo."   The facts of record  show that

          Camilo simply made himself scarce during the time the warrant was

          outstanding.  For these reasons, therefore, Camilo cannot benefit

          from any putative staleness of the warrant.  See Fisher, 895 F.2d
                                                       ___ ______

          at 211; Hill, 719 F.2d at 1405.
                  ____


                                         -10-














                    Even assuming that such an inquiry is necessary, Camilo

          also cannot avail himself of  Massachusetts state law.  Recently,

          the  Supreme Judicial Court recently stated  that, in the context

          of determining the  fairness of the  revocation of a  defendant's

          parole,  one consideration is  "the extent  to which  the parolee

          reasonably relied on the  inaction of the enforcing authorities."

          In  re Zullo,  653 N.E.2d  150, 152,  420  Mass. 872,  876 (Mass.
          ______ _____

          1995).  As noted  above, Camilo could not reasonably  have relied

          on  the  inaction of  the enforcing  authorities.   He  failed to

          appear at  a hearing of which  he had notice.   Moreover, his own

          actions in  leaving the state  without notification and  in using

          aliases  thwarted the  Essex  County Probation  Office's and  the

          Lawrence Police Department's attempts to contact him.

                    Upon  review  for clear  error,  we  conclude that  the

          district court  received sufficient evidence to  find that Camilo

          had a probation violation warrant outstanding.  Under our de novo

          review of the Guidelines,  we hold that regardless of  whether we

          must  focus on    4A1.2(m)  or Massachusetts  state law,  we must

          affirm the district court's criminal history computation.

                    B.  The Distinction Between Crack and Cocaine Powder
                    B.  The Distinction Between Crack and Cocaine Powder

                    Camilo  also argues  that the  district court  erred in

          denying  his motion  for a  downward departure  pursuant  to USSG

            5K2.0 and 18 U.S.C.   3553(b).  Camilo's argument comprises two

          parts, each of which is essential to success.  First, he contends

          that the  district court  improperly construed its  discretion to

          depart  downward, and  thus its  decision  to deny  the departure


                                         -11-














          should be subject to  plenary review on appeal.8   Second, Camilo

          contends that a departure was warranted because the United States

          Sentencing  Commission (the  "Sentencing  Commission") failed  to

          comply  with  its  enabling  legislation9  by adopting  Congress'

          previously   established  100-to-1   ratio  in   the  Guidelines'

          mandatory  minimum penalties for cocaine distribution, U.S.S.G.  

          2D1.1, without fully  investigating the circumstances  underlying

          the ratio.

                    However,  we  need  not  dwell on  the  first  part  of

          Camilo's argument.  Even  assuming, arguendo, that plenary review

          applies,  we reject  the  equally crucial  second  part.   Camilo

          asserts  that a  recently  released Sentencing  Commission report

          disapproving the  100-to-1 ratio  constitutes  a tacit  admission

          that  the Sentencing Commission was derelict in its duty.  United
                              
          ____________________

          8  See United States v. Gifford, 17 F.3d 462, 473 (1st Cir. 1994)
             ___ _____________    _______
          (noting that appellate jurisdiction may attach if it appears that
          the  failure  to  depart  stemmed  from  the  sentencing  court's
          mistaken impression that it lacked the legal authority to deviate
          from  the  Guideline  range   or,  relatedly,  from  the  court's
          misapprehension of the rules governing departures); United States
                                                              _____________
          v.  Rivera, 994  F.2d  942, 951  (1st  Cir. 1993)  (stating  that
              ______
          "[p]lenary review is appropriate where the question on review  is
          simply whether or not  the allegedly special circumstances (i.e.,
          the reasons for departure) are of the 'kind' that the Guidelines,
          in principle, permit the  sentencing court to consider  at all");
          cf. United  States v.  Pierro, 32 F.2d  611, 619 (1st  Cir. 1994)
          __  ______________     ______
          (noting  that "[i]t is by now axiomatic that a criminal defendant
          cannot  ground an  appeal on  a sentencing  court's discretionary
          decision not to depart below the Guidelines sentencing range.").

          9   Camilo  cites "21 U.S.C.    941,  et seq."  as the Sentencing
                                                _______
          Commission's enabling legislation, but in fact there is currently
          no statute at  that citation.   However, 28  U.S.C.    994(c),(d)
          mandates   that  the   Sentencing  Commission,   in  establishing
          categories  of offenses  for  use in  the Guidelines,  consider a
          number of  factors that would  apply to the  100-to-1 ratio.   28
          U.S.C.   994(c),(d).

                                         -12-














          States  Sentencing Commission,  Special Report  to the  Congress:
                                          _________________________________

          Cocaine and Federal  Sentencing Policy (February 1995).   In that
          ______________________________________

          report,  the  Sentencing  Commission  "firmly concludes  that  it

          cannot recommend  a ratio  differential as  great as the  current

          100-to-1 quantity  ratio."   Id.  at  196.   Furthermore,  Camilo
                                       ___

          bolsters this  argument by noting that  the Sentencing Commission

          voted  on April 13, 1995,10  to eliminate the  distinction in the

          Guidelines between "crack" and  "powder" cocaine, and recommended

          to  Congress that  it  revise the  statutory penalty  distinction

          between the  two forms  of cocaine.   See  60  Fed. Reg.  25,074,
                                                ___

          25,075-76 (1995).  The  Sentencing Commission concluded that "the

          [G]uideline provisions, as amended, will better take into account

          the increased  harms associated with some  crack cocaine offenses

          and,  thus, the different offense levels based solely on the form

          of cocaine are not  required."  Id.  Camilo  asserts that because
                                          ___

          "crack" and "powder" cocaine are "synonymous"  in the  scientific

          and  medical communities  (his prospective  defense witness  is a

          medical doctor),  the  Guidelines' distinction  between  them  is

          ambiguous, and  therefore the  rule  of lenity  mandates that  he

          receive  the lesser penalty.  For legal support, Camilo relies on

          United States v.  Davis, 864 F. Supp. 1303, 1309 (N.D. Ga. 1994).
          _____________     _____

          On  these grounds,  argues Camilo,  the district  court  erred by

          denying his "Motion for Services Other than  Counsel" and "Motion


                              
          ____________________

          10   See 28 U.S.C.   994(p) (providing that Sentencing Commission
               ___
          amendments  are to  take effect  upon a  certain date,  unless an
          intervening Act of Congress rejects them).  

                                         -13-














          to Continue," thereby precluding  Camilo from presenting evidence

          that "cocaine" and "cocaine base" are scientifically identical.

                    For  two reasons,  we  reject the  contention that  the

          Sentencing  Commission's  acts  or  omissions  compel a  downward

          departure  for Camilo, and thus  we also reject  any argument for

          expert testimony based on this theory.  First, the rule of lenity

          argument fails for essentially the same  reason that this circuit

          previously  rejected  the  argument  that  scientific equivalence

          requires  that crack  offenders be  given the  same sentences  as

          those  who   traffic  in  cocaine  powder.     United  States  v.
                                                         ______________

          Singleterry, 29 F.3d 733,  740 (1st Cir. 1994).   In Singleterry,
          ___________                                          ___________

          we  concluded  that  health  effects  notwithstanding,  crack  in

          reality does  differ from  cocaine powder, not  least importantly

          because its cheaper unit price could radically  increase drug use

          absent  stiffer  penalties  for crack  distributors.    Id.   The
                                                                  ___

          similar  medical  effects from  crack and  cocaine powder  do not

          compel  a finding of  legal ambiguity, especially  where there is

          evidence of differing effects on society.

                    Second, in light of recent legislative developments  we

          conclude that  the Sentencing Commission  cannot be said  to have

          failed  in  its statutory  duty  to  investigate the  distinction

          between  crack and cocaine powder.  In response to the Sentencing

          Commission's April  13, 1995  vote, the House  of Representatives

          joined the Senate  on October  18, 1995 in  voting to retain  the

          current  mandatory  sentence  for  possession  of crack  cocaine,

          maintaining  disparate sentences  for  crack and  powder  cocaine


                                         -14-














          possession.   See  Pub. L. No.  104-38,    1, 109  Stat. 334, 334
                        ___

          (1995).  And on  October 30, 1995, the President signed this bill

          into law.  Id.  These actions preempt the Sentencing Commission's
                     ___

          April  13, 1995  decision  to eliminate  the distinction  between

          crack  and cocaine powder from taking effect on November 1, 1995.

          See 28 U.S.C.   994(p).  In light of the October rejection of the
          ___

          Sentencing  Commission's April  amendment, we  cannot  accept the

          argument  that the Sentencing Commission was derelict in its duty

          to weigh penalties.11

                    Accordingly,  we find  no  abuse of  discretion in  the

          district court's  decision not to  grant a continuance  to permit

          the presentation  of live  testimony on the  crack-cocaine powder

          issue.   See United States v.  Claudio, 44 F.3d 10,  16 (1st Cir.
                   ___ _____________     _______

          1995) (reviewing for abuse of discretion district court's refusal

          to postpone  sentencing to  allow defendant's submission  of live

          medical testimony).

                    The judgment of the district court is affirmed.
                                                          affirmed
                                                          ________














                              
          ____________________

          11    Because Camilo  was  sentenced in  May  1995,  we need  not
          confront  any issue  of  pre-February 1995  Sentencing Commission
          failure to investigate.

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